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Case 4:19-cv-03079 Document 1-2 Filed on 08/16/19 in TXSD Page 3 of 6

Huntsville Unit
Storage Inventory

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pentobarbital 100mg/ml (5 grams)
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Note - All offender’s addresses are at 815 72th Street, Huntsville, Texas 77348

 
Huntsville Unit
Storage Inventory

Pentobarbital 100 ml (5 grams)

 

Name of Offender

Inventory

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 4:19-cv-03079 Document 1-2 Filed on 08/16/19 in TXSD Page 4 of 6

Note - All offender’s addresses are at 815 12h Street, Huntsville, Texas 77348

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Case 4:19-cv-03079 Documenti1-2 Filed on 08/16/19 in TXSD Page 5 of 6

   

 

LABORATORY REPORT

cvont +:

Sample: Pentobarbital
Conc.. 5SOmg/mb

Lot #:
Sample 'D #:
Date Rec'd: 06/22/2018

  

 

 

 

Chemistry Tests: Date Reported Measured Potency
Pentobarbital 06/27/2018 50.0 mg/mL 49.0 mg/mt 98,0 %
Microbiology Tests: Date Measured Result
Scan RD} 08/25/2018 Pass
Bacteria} Endotoxins 06/25/2018 <1.00 EU/mL Pass -

Notes:

Bacterial Endotoxins: Endotoxins are measured using USP<85> Turbidimetric procedure, with an inhibition / enhancement test
performed on each sampte.
Potency: Potency is determined via USP <621> HPLC, USP<851> Spectrophotometry, and specific monograph
testing procedures.

Respectfully submitted

  

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LABORATORY REPORT

Client #:
Sample: Pentobarbital

  

Conc.: 50mgimL

Lot #:
Sample [D #:
Date Rec'd: 05/03/2019

Storage Loc: a

  

 

Chemistry Tests: Date Reported Measured Potency
Pentobarbital 05/06/2019 50.0 mg/mL 49.4 mg/mL 98.8 %
Notes:

Potency: Potency is determined via USP <621> HPLC, USP<851> Spectrophotometry, and/or specific monograph
testing procedures.

Respectfully submitted,

 

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